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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                            )
        UNITED STATES                       )
                                            )
              v.                            )
                                            )                Criminal No. 1:20-cr-17-CCB-1
        ROBERT HANKARD                      )
                                            )
        ____________________________________)

                    DEFENDANT’S UNOPPOSED MOTION TO EXTEND
                      DEADLINE FOR FILING PRETRIAL MOTIONS

        Defendant Robert Hankard, by and through undersigned counsel, respectfully moves this

Honorable Court to extend the deadline for filing pretrial motions from April 2 to April 9, 2021.

        1.       In accordance with the pretrial scheduling order, Defendant’s pretrial motions are

due on March 26, 2021. See ECF 43.

        2.       Counsel’s immediate family recently tested positive for COVID-19 and counsel

requires additional time to make a final decision regarding the motions to be filed, and thus

requests the deadline be extended to April 9, 2021.

        3.       Assistant United States Attorney Christopher Rigali does not oppose this motion.

        WHEREFORE, for the foregoing reasons, Mr. Hankard respectfully requests that this

Court grant this Motion and extend the time to file any pretrial motions from April 2 to April 9,

2021.




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                                                     Respectfully submitted,


                                                     ________/s/____________
                                                     David Benowitz
                                                     Bar # 17672
                                                     Counsel for Robert Hankard
                                                     Price Benowitz LLP
                                                     409 Seventh Street, NW
                                                     Suite 200
                                                     Washington, DC 20004
                                                     (202) 271-5249
                                                     david@pricebenowitz.com



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Defendant’s Unopposed Motion to Extend

Deadline for Filing Pretrial Motions has been served via ECF to Attorney Christopher M. Rigali,

Assistant United States Attorney for the District of Maryland, 36 S. Charles St., 4th Floor,

Baltimore, MD 21201, on this 2nd day of April 2021.

                                                     _______/s/_______________
                                                     David Benowitz




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